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 4

 5

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 7

 8                            UNITED STATES BANKRUPTCY COURT

 9                             CENTRAL DISTRICT OF CALIFORNIA

10                                     LOS ANGELES DIVISION

11
     In re                                           Case No.: 2:17-bk-22432 WB
12
     Point.360, a California corporation,            In a Case Under Chapter 11 of the Bankruptcy
13                                                   Code (11 U.S.C. § 1101 et seq.)
                       Debtor.
14                                                   DEBTOR’S SECOND AMENDED
                                                     CHAPTER 11 PLAN OF
15                                                   REORGANIZATION
16
                                                     Disclosure Statement Hearing
17
                                                     Date:    November 8, 2018
18                                                   Time:    10:00 a.m.
                                                     Place:   Courtroom 1375; Judge Brand
19                                                            U.S. Bankruptcy Court
                                                              255 E. Temple Street, 13th Floor
20                                                            Los Angeles, CA 90012
21
                                                     Plan Confirmation Status Hearing
22
                                                     Date:    January 29, 2019
23                                                   Time:    2:00 p.m.
                                                     Place:   Courtroom 1375; Judge Brand
24                                                            U.S. Bankruptcy Court
                                                              255 E. Temple Street, 13th Floor
25                                                            Los Angeles, CA 90012
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 1                                                     I.

 2                                           INTRODUCTION

 3          Point.360, a California corporation (“Debtor”) is the Debtor in a Chapter 11 bankruptcy

 4   case. On October 10, 2017, the Debtor filed a voluntary Chapter 11 petition under the United

 5   States Bankruptcy Code (“Code”), 11 U.S.C. § 101 et seq. Sent to you in the same envelope as

 6   this document is the Disclosure Statement which has been approved by the Court, and which is

 7   provided to help you understand the Plan.

 8          This is a plan of reorganization. In other words, the Proponent seeks to accomplish

 9   payments under the Plan by paying creditors from revenues generated by future operations and

10   sales of certain assets. The Effective Date of the proposed Plan is the later of February 28, 2019

11   or the 15th day after entry of a Court order confirming the plan proving no stay of effectiveness

12   thereof is in effect. If a stay of effectiveness is then in effect, the plan becomes effective when

13   such stay is terminated.

14
                                                       II.
15
                         SUMMARY OF THE PLAN OF REORGANIZATION
16

17   A.     What Creditors and Interest Holders Will Receive Under The Proposed Plan.

18          As required by the Bankruptcy Code, the Plan classifies claims and interests in various

19   classes according to their right to priority. The Plan states whether each class of claims or

20   interests is impaired or unimpaired. The Plan provides the treatment each class will receive.

21   B.     Unclassified Claims.

22          Certain types of claims are not placed into voting classes; instead they are unclassified.

23   They are not considered impaired and they do not vote on the Plan because they are automatically

24   entitled to specific treatment provided for them in the Bankruptcy Code. As such, the Proponent

25   has not placed the following claims in a class.

26   ///

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 1          1.      Administrative Expenses.

 2          Administrative expenses are claims for costs or expenses of administering the Debtor’s

 3   Chapter 11 case which are allowed under Code section 507(a)(2). The Code requires that all

 4   administrative claims be paid on the Effective Date of the Plan, unless a particular claimant

 5   agrees to a different treatment. The following chart lists all of the Debtor’s anticipated unpaid

 6   507(a)(2) administrative claims for chapter 11 professionals, the Bankruptcy Court clerk’s office

 7   and the Office of the United States Trustee and their treatment under the Plan:

 8
                     Name                          Amount Owed                       Treatment
 9   Lewis R. Landau                     $TBD ($150,000 estimated           Paid in Full on Effective Date
     Attorney at Law                     unpaid as of 11/1/18)
10   Brinkman Portillo Ronk, APC         $TBD ($150,000 estimated           Paid in Full on Effective Date
     Committee Counsel                   unpaid as of 11/1/18)
11   GlassRatner Advisory & Capital      $TBD ($50,000 estimated unpaid     Paid in Full on Effective Date
     Group; Financial Advisor            as of 11/1/18)
12   Daniel P. Hogan Attorney at Law     $TBD ($19,000 estimated unpaid     Paid in Full on Effective Date
     Special Litigation Counsel          as of 11/1/18)
13   TroyGould, P.C.                     $TBD ($6,000 estimated unpaid      Paid in Full on Effective Date
     Special Transactional Counsel       as of 11/1/18)
14   Clerk’s Office Fees &               $TBD                               Paid in Full on Effective Date
     Miscellaneous
15
     Office of the U.S. Trustee Fees     Current                            Paid in Full on Effective Date
16                                       TOTAL TBD
                                         ($375,000 estimated)
17
            Court Approval of Fees Required:
18
            The Court must rule on all fees listed in this chart before the fees will be owed. For all
19
     fees except Clerk’s Office fees and U.S. Trustee’s fees, the professional in question must file and
20
     serve a properly noticed fee application and the Court must rule on the application. Only the
21
     amount of fees allowed by the Court will be owed and required to be paid under this Plan.
22
     ///
23
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 1          2.      Priority Tax Claims.

 2          Priority tax claims are certain unsecured income, employment and other taxes described

 3   by Code Section 507(a)(8). The Code requires that each holder of such a 507(a)(8) priority tax

 4   claim receive the present value of such claim in deferred cash payments, over a period not

 5   exceeding five years from the petition date with interest at the most favorable rate offered to other

 6   creditors in the Plan. The following chart lists all of the Debtor’s Section 507(a)(8) priority tax

 7   claims and their treatment under the Plan:

 8
             Description               Amount Owed                              Treatment
 9      •   Name=                                          •   Pymt interval: = 48 monthly installments
        •   Los Angeles County       $148,219.54           •   Pymt amt/interval:                   = $4,354
10          TTC                      (POC 7-2)
        •   Type of tax = Property                         •   Begin date:                       Effective Date
11
                                                           •   End date:                        10/1/22
12      •   Date tax assessed=                             •   Interest Rate %                         = 18%
            10/27/17
13                                                         •   Total Payout Amount                    = 100%
               Description             Amount Owed                              Treatment
14      •   Names =                                        •   Pymt interval: = Single
        •   IRS                      $1,000                •   Pymt amt/interval:                  = In full
15      •   FTB                      $800
        •   County of Orange         $1,802.80
16      •   Type of tax = Misc.                            •   Begin date:                       Effective Date
                                                           •   End date:                         Same
17      •   Date tax assessed=                             •   Interest Rate %                         = N/A
            Misc.
18
                                                           •   Total Payout Amount                    = 100%
19          3.      Creditors’ Administrative Expense Claims
20          Creditors may assert administrative priority expense claims arising from, e.g., their post-
21   petition services provided to the Debtor under Code Section 503(b). Such expenses may include
22   rent, utilities, and insurance, among other items. Administrative Claims bar date: The last day
23   to file a request for payment of Administrative Expense Claims, other than those set forth in
24   section II(B)(1) above, is set forth in the notice of the Plan confirmation hearing accompanying
25   this Disclosure Statement. The Code requires that all administrative claims be paid on the
26   Effective Date of the Plan, unless a particular claimant agrees to a different treatment.
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 1   C.       Classified Claims and Interests.

 2            1.        Classes of Secured Claims.

 3            Secured claims are claims secured by liens on property of the estate. The Debtor’s

 4   secured creditors are identified below, other than purported equipment leases that may constitute

 5   financing transactions with nominal lease end purchase options. These purported equipment lease

 6   claims are listed on Exhibit 6 to the Disclosure Statement. Debtors shall assume purported

 7   equipment leases through the confirmation process, while reserving the right to seek

 8   recharacterization of such purported equipment leases in the event of any dispute concerning the

 9   Debtor’s title to the assets subject to such purported equipment leases. See, § III(F)(1).

10
     CLASS#                DESCRIPTION                   IMPAIRED                  TREATMENT
11                                                         (Y/N)
          1        Secured claim of: Austin                 No      •   Pymt interval = Per Loan Agreement
12                 Financial Services, Inc.
                   • Name= Austin Financial                         •   Pymt amt/interval = Per Loan Agreement
13                 Services, Inc.
                   • Collateral description = All                   •   Balloon pymt = Maturity 10/31/18 [six
14                 Assets                                               month extensions of maturity anticipated]
                   • Collateral value = Varies per                  •   Begin date = Effective Date.
15                 operations; fully secured.
                   • Priority of security int. = 1.                 •   End date = Same
16

17                 • Principal owed = $2,475,676.48                 •   Interest rate % = 0%
                   per POC 34.
18                 • Pre-pet. Arrearage amount = $0                 •   Total payout = Per contract.
                   • Post-pet. Arrearage amount =                   •   Treatment of Lien = Unimpaired per 11
19                 $0                                                   U.S.C. § 1124(1) and (2).
                   • Total claim amount =                           Note: To the extent that Austin Financial
20                 $2,475,676.48 per POC 34,                        Services, Inc. does not agree to continue
                   subject to post-petition changes in              financing post-confirmation, the existing DIP
21                 account status.                                  facility requires payment in full on the
                                                                    Effective Date of the Plan. At this time,
22                                                                  Austin Financial Services, Inc. has not
                                                                    committed to exit financing and the existing
23                                                                  DIP facility requires payment in full on the
                                                                    Effective Date of the Plan.
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 1   CLASS#                DESCRIPTION                  IMPAIRED                   TREATMENT
                                                          (Y/N)
 2      2          Secured claims of:                      No      •   Pymt interval = Per Term Loan Agreement
                   Medley Capital Corporation                          and related Loan Documents.
 3                 Medley Opportunity Fund II, LP
                   • Name= Collectively Medley                     •   Pymt amt/interval = Per Term Loan
 4                                                                     Agreement and related Loan Documents.
                   • Collateral description = All                  •   Balloon pymt = Maturity 7/8/20
 5                 assets excluding accounts and real
                   estate
 6                 • Collateral value = Fully                      •   Begin date = Effective Date.
                   secured.
 7                 • Priority of security int. = 2.                •   End date = Same

 8                 • Principal owed = $6,000,000                   •   Interest rate % = Per contract.
                   per POCs 72, 73
 9                 • Pre-pet. Arrearage amount = $0                •   Total payout = Per contract.
                   [PIK interest accrual]
10
                   • Post-pet. Arrearage amount =                  •   Treatment of Lien = Unimpaired per 11
                   $0 [PIK interest accrual]                           U.S.C. § 1124(1) and (2).
11
                   • Total secured claim amount = $
                   6,572,764.28 plus post-petition
12
                   accruals, if any, as allowed.
13
              2.        Classes of Priority Unsecured Claims.
14
              Certain priority claims that are referred to in Code Sections 507(a)(4), (5), (6), and (7) are
15
     required to be placed in classes. These types of claims are entitled to priority treatment as follows:
16
     the Code requires that each holder of such a claim receive cash on the Effective Date equal to the
17
     allowed amount of such claim unless such creditor agrees to alternate treatment. However, a
18
     class of unsecured priority claim holders may vote to accept deferred cash payments of a value, as
19   of the Effective Date, equal to the allowed amount of such claims.                    The Debtor’s priority
20   unsecured claims are listed on Exhibit 1 to the Disclosure Statement.
21
      Class                    Description                  Impaired                     Treatment
22                                                           (Y/N)
        3          Priority Wages, Commissions,               Yes         Payment Interval = 1.
23                 Salary Claims Per § 507(a)(4)
                   Total amount of claims =                               Payment amt/interval = All
24                 $92,685.13                                             allowed priority claims per 11
                   See Disclosure Statement Ex 1.                         U.S.C. § 507(a)(4) shall be paid
25                                                                        in full on the Effective Date.
                                                                          Begin Date = Effective Date.
26                                                                        End date =      Effective Date.
                                                                          Interest Rate: None.
27                                                                        Total Payout = 100%.
28

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 1     Class                 Description             Impaired                  Treatment
                                                      (Y/N)
 2       4           UnitedHealth Insurance            Yes          Payment Interval = 6 monthly
                     Company; Priority                              installments.
 3                   Employee Benefit Plan                          • Any default under the terms of
                     Per § 507(a)(5)                                the Plan concerning the
 4                                                                  repayment of UnitedHealthcare’s
                                                                    claims shall be deemed to be a
 5                                                                  default under the terms of the
                                                                    Group Policy under Enrolling
 6                                                                  Group No. 910300.
                     Total amount of claims =                       Payment amt/interval =
 7                   $142,152.77 per POC 33-2                       $24,669.34 months 1 to 5 with
                                                                    balance due in month 6, plus pro
 8                                                                  rata share of proceeds of Medley
                                                                    Litigation, if any, until paid in
 9                                                                  full.
                                                                    Begin Date = Effective Date.
10                                                                  End date = August 1, 2019.
                                                                    Interest Rate: 5%
11                                                                  Total Payout = 100%
12

13     Class                Description              Impaired                  Treatment
                                                      (Y/N)
14      5           SAG-AFTRA and SAG-                 Yes          Payment Interval = $5,000
                    AFTRA Health Fund and                           monthly installments.
15                  AFTRA Retirement Fund
                    Priority Claims
16                  Per § 507(a)(5)
                    Total amount of claims =                        Payment amt/interval = $5,000
17                  $37,466.75                                      month, plus pro rata share of
                    per POCs 57-1 and 58-1                          proceeds of Medley Litigation, if
18                                                                  any, until paid in full.
                                                                    Begin Date = Effective Date.
19                                                                  End date = August 1, 2019.
                                                                    Interest Rate: N/A
20                                                                  Total Payout = 100%
21             3.      Classes of General Unsecured Claims.
22             General unsecured claims are unsecured claims not entitled to priority under Code Section
23   507(a). The following chart identifies this Plan’s treatment of the classes containing all of
24   Debtor’s general unsecured claims:
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 1   Class            Description              Impaired                  Treatment
                                                (Y/N)
 2     6     Allowed General Unsecured           Yes    Payment Interval = 36 monthly
             Claims identified in Disclosure            installments plus proceeds of MVF asset
 3           Statement Exhibit 1.                       sales within six months of Effective Date
                                                        (subject to approval by the Court that the
 4                                                      Debtor is permitted to sell the MVF PPE
                                                        and use the proceeds to pay general
 5                                                      unsecured creditors ) and pro rata share
                                                        of net Medley Litigation proceeds, if any,
 6                                                      until paid in full. See means for
                                                        effectuating plan.
 7           Total amount of claims:                    Payment amt/interval = $25,000 monthly
             $1,699,695.01 which includes               distribution paid pro rata from and after
 8           $163,506.24 disputed                       the Effective Date plus net proceeds of
                                                        MVF PPE sale (subject to approval by
 9                                                      the Court that the Debtor is permitted to
                                                        sell the MVF PPE and use the proceeds
10                                                      to pay general unsecured creditors), MVF
                                                        Proceeds and net Medley Litigation
11                                                      proceeds, if any.
                                                        Begin date =            Effective Date
12                                                      End date =              February 1, 2022
                                                        Interest rate: Federal Judgment Rate in
13                                                      Effect as of Confirmation Hearing.
                                                        Total payout = 89% to 100%
14

15   Class            Description              Impaired               Treatment
                                                (Y/N)
16     7     Convenience Class of                Yes    Payment Interval = single 75% payment
             unsecured claims less than or              on Effective Date.
17           reducing to $2,500.
             Total amount of claims =                     Payment amt/interval = Single payment
18           Approx. $52,467 [excluding                   of 75% of face amount of allowed claim.
             voluntarily reduced claims.]
19                                                        Begin date = Effective Date.
                                                          End date = Single lump sum payment on
20                                                        Effective Date.
                                                          Interest rate: Not applicable.
21                                                        Total payout = 75% on Effective Date.
22   Class            Description              Impaired                 Treatment
                                                (Y/N)
23
       8     Wilcon Holdings, LLC aka            Yes      Payment Interval = Per Settlement
24           Crown Castle Fiber                           Agreement at $10,387 per month.
25           Total amount of claims =                     Payment amt/interval = Per Settlement
             $124,274.69 per Settlement                   Agreement at $10,387 per month.
26
                                                          Begin date = Per Settlement.
27                                                        End date =     Per Settlement.
                                                          Interest rate: Not applicable.
28                                                        Total payout = 100%


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 1          4.      Class(es) of Interest Holders.

 2          Interest holders are the parties who hold ownership interest (i.e., equity interest) in the

 3   Debtor. If the Debtor is a corporation, entities holding preferred or common stock in the Debtor

 4   are interest holders. If the Debtor is a partnership, the interest holders include both general and

 5   limited partners. If the Debtor is an individual, the Debtor is the interest holder. The following

 6   chart identifies the Plan’s treatment of the class of interest holders:

 7
          CLASS #          DESCRIPTION              IMPAIRED                   TREATMENT
 8                                                    (Y/N)
             9              Equity Security            Yes            All equity security interests,
 9                             Holders                                including stock, options and
                                                                      warrants, are cancelled on the
10                                                                    Effective Date. Holders of
                                                                      allowed equity interests for
11                                                                    common stock as of the Effective
                                                                      Date shall receive a proportionate
12                                                                    share of any net Medley Litigation
                                                                      proceeds after full satisfaction of
13                                                                    class 5 general unsecured claims,
                                                                      if any.
14
     D.     Means of Effectuating the Plan.
15
            1.      Funding for the Plan.
16
            The Plan will be funded by the following and will be implemented pursuant to the
17
     following steps:
18
            1.      On the Effective Date, property of the estate will revest in the Debtor.
19
            2.      The Debtor shall manage and operate its business generally in accordance with the
20
     projections attached as Disclosure Statement Exhibit 2.
21
            3.      The Debtor shall make all Effective Date and subsequent fixed and recurring
22
     payments set forth in the Plan.
23
            4.      At or before the Effective Date, Debtor shall assign standing to prosecute any
24
     claims against Medley (“Medley Litigation”) to the Creditors’ Committee and the Committee
25
     may settle, compromise, dismiss or otherwise dispose of such claims subject to Bankruptcy Court
26
     approval. Any net proceeds recovered from the Medley Litigation shall be paid first to priority
27
     claims until paid in full and then all general unsecured creditors pro rata until paid in full and
28

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 1   then to former allowed equity security holders pro rata according to their percentage stock

 2   ownership in the Debtor as of the Effective Date. The Committee shall remain in effect pending

 3   the resolution of any Medley Litigation. If the Committee does not accept such claims, the

 4   Committee will terminate on the Effective Date and the Medley Litigation claims will remain

 5   vested in the post-confirmation Debtor.

 6          5.      Within six (6) months of the Effective Date, Debtor shall have completed the sale

 7   of surplus MVF assets listed in Exhibit 7 to the Disclosure Statement (the “MVF PPE”). To the

 8   extent permitted by the Court to sell the MVF PPE and pay the proceeds to anyone other than

 9   Medley, net proceeds received by Debtor from such sale(s) shall be distributed as set forth herein.

10          6.      On the Effective Date, Debtor shall cancel all outstanding equity securities,

11   including stock, options and warrants, and complete such regulatory requirements to delist

12   Debtor’s securities from the public market.

13          7.      Debtor shall authorize and issue 5,000,000 shares of common stock to HWAY,

14   LLC in full satisfaction of Debtor’s $803,923.13 cure obligation for assumption of the HWAY,

15   LLC lease. Mr. Bagerdjian holds a 99% membership interest in HWAY.

16          8.      Any distribution made by the Debtor that remains unclaimed and outstanding for

17   more than ninety (90) days after issuance shall be cancelled, and any such property shall revest in

18   the Debtor.

19          9.      The Debtor will not issue, nor will there be, any shares of non-voting securities of

20   the Debtor, in accordance with 11 U.S.C. § 1123(a)(6).

21          10.      The Court will retain jurisdiction over the post confirmation estate until such

22   estate is fully administered and a final decree is entered.

23          2.      Post-confirmation Management.

24          The Debtor will be revested with all property of the estate and shall manage all post-

25   confirmation affairs. Post-confirmation management will remain unchanged. See Disclosure

26   Statement § II(C).

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 1          3.      Disbursing Agent.

 2          The Debtor shall act as the disbursing agent for the purpose of making all distributions

 3   provided for under the Plan. The disbursing agent shall serve without bond and shall receive no

 4   additional compensation for distribution services rendered pursuant to the Plan.

 5   E.     Risk Factors.

 6          The proposed Plan has the following risks: The primary risk is that the Court determines

 7   that the Debtor is not authorized to sell the MVF PPE and use the proceeds to pay general

 8   unsecured creditors. A second risk is that the revenues necessary to fund the plan are not

 9   achieved due to general economic conditions and market factors. A third risk is the sale proceeds

10   received upon the liquidation of the MVF PPE necessary to fund unsecured creditor distributions

11   are less than anticipated. A fourth risk is that Austin has not committed to exit financing and

12   there is a risk that it does not commit to exit financing and the Debtor is required to pay the DIP

13   Facility in full on the Effective Date. A risk is that the maturity of Medley’s secured claim occurs

14   on July 8, 2020 and the Debtor cannot demonstrate that it will have sufficient liquidity to pay

15   Medley in full in cash on this date. Finally, the Debtor risks that the Court finds that the Plan is

16   otherwise not confirmable for reasons that may be raised prior to or at the Confirmation Hearing.

17          The Debtor does not believe that these risks prevent Plan confirmation because the

18   projections are feasible, the MVF PPE recovery is based on an expert’s valuation and the

19   Debtor’s anticipated financial performance would support an enterprise valuation making the

20   Debtor creditworthy, with positive EBITDA sufficient to secure a new term loan. Medley asserts

21   that these risks prevent Plan confirmation because, among other reasons, the Plan is not

22   confirmable, the projections are not feasible and the Debtor’s anticipated financial performance

23   does not support an enterprise valuation making the Debtor creditworthy, with positive EBITDA

24   sufficient to secure a new term loan.

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 1   F.        Other Provisions of the Plan.

 2             1.     Executory Contracts and Unexpired Leases.

 3                    a.      Assumptions.

 4             On the Effective Date, Debtor’s “executory” contracts and unexpired leases identified in

 5   Exhibit 6 to the Disclosure Statement will be assumed (i.e., cured and reinstated) as obligations of

 6   the reorganized Debtor. Pursuant to 11 U.S.C. § 1123(b)(2), the plan constitutes a motion to

 7   assume such executory contracts and leases, pursuant to the requirements of 11 U.S.C. § 365.

 8   Debtor shall pay the cure payments or issue stock as identified in Exhibit 6 to the Disclosure

 9   Statement on the Effective Date of the Plan, unless otherwise agreed to by the Debtor and such

10   contract or lease counterparty.

11             Any objection to Debtor’s proposed cure payment shall be filed as an objection to Plan

12   confirmation. Confirmation of Debtor’s Plan shall constitute adequate assurance of future

13   performance under any such assumed contract or lease. The order confirming the Plan will

14   constitute an order approving assumption of executory contracts and unexpired leases as set forth

15   herein.

16                    b.      Rejections and Ride Through.

17             There are no unexpired leases or executory contracts to be rejected. Any and all

18   executory contracts not otherwise assumed shall ride through the Plan process and remain in

19   effect and unimpaired by the Plan, unless otherwise expressly assumed or rejected under the plan

20   or by separate motion.

21             The Debtor was party to now expired collective bargaining agreements (“CBAs”) with the

22   Screen Actors Guild – American Federal of Television and Radio Artists (“SAG-AFTRA”). The

23   parties have discussed new agreements, but none have been executed. Nonetheless, the Debtor

24   has continuing obligations to make contributions to the SAG-AFTRA Health Fund and AFTRA

25   Retirement Fund on behalf of its employees represented by SAG-AFTRA. Debtor intends to

26   make those contributions in the ordinary course. In this respect, the CBAs ride through the Plan

27   confirmation process.

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 1           2.      Changes in Rates Subject to Regulatory Commission Approval.

 2           This Debtor is not subject to governmental regulatory commission approval of its rates.

 3           3.      Retention of Jurisdiction.

 4           The Court will retain jurisdiction to the extent provided by law.

 5
                                                       III.
 6
                                EFFECT OF CONFIRMATION OF PLAN
 7

 8   A.      Discharge.

 9           This Plan provides that the Debtor shall be discharged of liability for payment of debts

10   incurred before confirmation of the Plan, as specified in 11 U.S.C. § 1141. The terms of the Plan

11   will bind all creditors and parties in interest to the provisions thereof.

12   B.      Revesting of Property in the Debtor.

13           Except as provided in Section III(E), and except as provided elsewhere in the Plan, the

14   confirmation of the Plan revests all of the property of the estate in the Debtor.

15   C.      Modification of Plan.

16           The Proponent of the Plan may modify the Plan at any time before confirmation.

17   However, the Court may require a new disclosure statement and/or revoting on the Plan. The

18   Proponent of the Plan may also seek to modify the Plan at any time after confirmation only if (1)

19   the Plan has not been substantially consummated and (2) the Court authorizes the proposed

20   modifications after notice and a hearing.

21   D.      Post-Confirmation Status Report.

22           Within 120 days of the entry of the order confirming the Plan, Plan Proponent shall file a

23   status report with the Court explaining what progress has been made toward consummation of the

24   confirmed Plan. The status report shall be served on the United States Trustee, the twenty largest

25   unsecured creditors, and those parties who have requested special notice. Further status reports

26   shall be filed every 120 days and served on the same entities.

27           The reorganized debtor’s post-confirmation status reports shall reflect all income and

28   disbursements for each quarter or portion thereof while the case remains open, and the


                                                        13
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 1   reorganized debtor shall timely pay U.S. Trustee Quarterly Fees pursuant to 28 U.S.C.

 2   § 1930(a)(6).

 3   E.     Post-Confirmation Conversion/Dismissal.

 4          A creditor or party in interest may bring a motion to convert or dismiss the case under

 5   1112(b), after the Plan is confirmed, if there is a default in performing the Plan. If the Court

 6   orders, the case converted to Chapter 7 after the Plan is confirmed, then all property that had been

 7   property of the Chapter 11 estate, and that has not been disbursed pursuant to the Plan, will revest

 8   in the Chapter 7 estate. The automatic stay will be reimposed upon the revested property, but

 9   only to the extent that relief from stay was not previously authorized by the Court.

10   The order confirming the Plan may also be revoked under very limited circumstances. The Court

11   may revoke the order if the order of confirmation was procured by fraud and if the party in

12   interest brings an adversary proceeding to revoke confirmation within 180 days after the entry of

13   the order of confirmation.

14   F.     Final Decree.

15          Once the estate has been fully administered as referred to in Bankruptcy Rule 3022, the

16   Debtor shall file a motion with the Court to obtain a final decree to close the case.

17   Dated: December 5, 2018                       Respectfully submitted,
18
                                                   Lewis R. Landau
19                                                 Attorney-at-Law

20
                                                   By /s/ Lewis R. Landau
21                                                 Lewis R. Landau
22                                                 Attorneys for Point.360, a California Corporation,
                                                   Debtor and Debtor-in-Possession
23

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
    22287 Mulholland Hwy., # 318
    Calabasas, CA 91302
A true and correct copy of the foregoing document entitled (specify): __________________________________________
 DEBTOR’S SECOND AMENDED CHAPTER 11 PLAN OF REORGANIZATION
________________________________________________________________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
12/05/2018          I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                       ✔ Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
                                                                                                  12/05/2018
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________,     I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
 Judge Brand, US Bankruptcy Court, 255 E Temple Street, Suite 1382, Los Angeles, CA 90012




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

12/05/2018         Lewis R. Landau                                                             /s/ Lewis R. Landau
 Date                        Printed Name                                                       Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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